                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

UNITED STATES OF AMERICA,                         )
                                                  )
v.                                                )   Criminal No: 1:20cr154
                                                  )   The Honorable Liam O’Grady
JOHN CAMERON DENTON                               )
     Defendants.                                  )

             DEFENDANT’S POSITION WITH RESPECT TO SENTENCING

       The defendant, John Cameron Denton, by and through undersigned counsel, pursuant to

18 U.S.C. §3553(a) and §6A1.3 of the United States Sentencing Guidelines (hereinafter

U.S.S.G.), submits the following Position with Respect to Sentencing. In accordance with

U.S.S.G. §6A1.2 Counsel certifies that he reviewed the Presentence Investigation Report

(hereinafter PSR) with Mr. Denton. Further, Mr. Denton objects to the determination that he

qualifies for a hate crime motivation enhancement pursuant to U.S.S.G. §3A1.1 and an official

victim enhancement pursuant to U.S.S.G. §3A1.2. As a result, the appropriate Total Offense

Level is 15 with a corresponding guideline range of 18 to 24 months under Criminal History

Category I. This guideline range adequately addresses certain specific characteristics of Mr.

Denton and it is an appropriate measure of his culpability in the present case. Based on the

considerations set forth in 18 U.S.C. §3553(a), Mr. Denton requests that this Court impose a

sentence at the low end of this guideline range. A sentence of 18 months followed by a three-

year term of supervised release to include ongoing psychotherapy and extremism intervention

assistance and, if the Court deems appropriate, a term of home confinement with a parent or

grandparent, is sufficient, but not greater than necessary, to address these considerations.

I.     Background
       In and around 2018, John William Kirby Kelley (“Kelley”) (1:20-cr-82) began hosting

the #Graveyard Internet Relay Chat (“IRC”) channel (the “Graveyard channel”) on the Clearnet

which was accessible by simply typing the domain into Google. An IRC is similar to a chat

room that allows individuals to communicate on a one-on-one basis or in group forums. The

Graveyard channel was hosted on a server called Deadnet. Kelley’s Graveyard channel was rife

with sophomoric, vulgar, and racist dialogues. In August of 2018, the channel took a sinister

turn after Kelley invited Co-Conspirator 1, a Canadian citizen, Co-Conspirator 2, a British

citizen, and Co-Conspirator 3, an American citizen who was a juvenile at the time. The swatting

calls began a short time after.

       After the swatting calls were underway Kelley invited Mr. Denton to join in October of

2018, who a short time later began hosting and managing his own IRC channel called Siege

Culture. The Siege Culture channel was devoted to the racist writings and teachings of James

Mason. While some members of the Siege Culture channel also participated in the Graveyard

channel, swatting targets were not selected, planned, or coordinated on the Siege Culture

channel.

       The majority of the swatting calls were made between October 2018 and February 2019.

Co-Conspirator 1 and Co-Conspirator 2 were responsible for making the vast majority of the

swatting calls. Co-Conspirator 2 was also the host of DoxBin dark net website. They asked

other participants on the Graveyard channel to propose targets and then choose from the options

presented to them. The co-conspirators would then use the Mumble application to listen to the

calls. As the Graveyard channel host and moderator, Kelley was a frequent participant and

listened to and took part in countless swatting calls. He was also responsible for inviting many

participants. When law enforcement executed a search warrant on Kelley, a voice changer was



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located in his room. After starting the Siege Culture channel, Mr. Denton rarely, if at all,

participated in chats on the Graveyard channel and remembers listening to approximately less

than 10 calls on Mumble.

          On or about November 3, 2018, Co-Conspirator 3, who later cooperated with the

government, chose the Alfred Street Baptist Church, located in Alexandria, Virginia, because it

is a predominantly African American church. He then coordinated with Co-Conspirator 1 who

made the swatting call. The following day, after listening to a swatting event, Kelley suggested

swatting Old Dominion University to Co-Conspirator 1 in addition to other locations. In the

early morning of November 29, 2018, Kelley made the swatting call to ODU. Even after being

approached by law enforcement Kelley made a second swatting call to ODU on December 4,

2018. On January 27, 2019, a co-conspirator placed a swatting call that targeted a USSS

protectee, who was then a United States Cabinet member. However, after law enforcement

contacted the USSS and confirmed that the cabinet member was safe no further law enforcement

action was taken. Mr. Denton did not suggest, plan, or participate in any of the above swatting

events.

          Co-Conspirator 3 introduced Mr. Denton to Co-Conspirator 2 online after learning that

Mr. Denton was angry with a journalist at ProPublica for publishing his identity and

mischaracterizing his role in Atomwaffen Division. According to Co-Conspirator 3 and other

evidence, Mr. Denton targeted the journalist because of the article and because the journalist

approached Mr. Denton at a music festival for an upcoming news series. On December 14,

2018, Mr. Denton participated in a swatting call made by Co-Conspirator 1 that targeted the

ProPublica office. Police found a single employee in the office who was shaken but not harmed.

On February 8, 2019, Mr. Denton participated in a swatting call made by Co-Conspirator 2 that



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targeted the home of the journalist. At the home, police encountered the journalist, spouse, child

and a relative who were visibly shaken but not harmed.

       On February 25, 2020, a criminal complaint was filed in this district charging Mr. Denton

with conspiracy to transmit threats to injure the person of another. Mr. Denton was taken into

custody the following day in the Southern District of Texas and has remained in the custody of

the U.S. Marshalls. On July 14, 2020, Mr. Denton appeared before this Court and pled guilty,

pre-indictment. At the time of sentencing, Mr. Denton will have been in custody for

approximately fourteen months and one week.

II.    Disputed Factors

       Pursuant to §6A1.3 of the Sentencing Guidelines the Court shall resolve disputed

sentencing factors at a sentencing hearing in accordance with Rule 32(i), Fed. R. Crim. P. When

any factor is reasonably in dispute, the parties shall be given an adequate opportunity to present

information to the Court regarding that factor. The government bears the burden of proving the

applicability of a sentencing enhancement. See, e.g., United States v. Adepoju, 756 F.3d 250, 257

(4th Cir. 2014).

       A.      Hate Crime Motivation

       In the present case, the Probation Officer noted in paragraph 60 of the PSR that Mr.

Denton qualifies for a victim related adjustment for hate crime motivation pursuant to U.S.S.G.

§3A1.1(a). However, notwithstanding the motivation of other co-conspirators, Mr. Denton did

not select any victim based on race or religion.

       Subsection 3A1.1(a) imposes a higher standard on the court for imposing this

enhancement. It requires the court at sentencing to determine beyond a reasonable doubt that a

defendant intentionally selected any victim or any property as the object of the offense of



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conviction because of the race, color, religion, national origin, ethnicity, gender, gender identity,

disability, or sexual orientation of any person.

       As discussed above, Co-Conspirator 3 selected the Alford Street Baptist Church because

it was predominantly African American. He then enlisted the assistance of Co-Conspirator 1 to

make the swatting call. Co-Conspirator 3, who cooperated with law enforcement, made no

mention of discussing this selection with Mr. Denton. In fact, Co-Conspirator 3 told law

enforcement that the swatting targets that Mr. Denton did select were chosen because he was

angry with the journalist.

       The government relied on United States v. Woodlee, 136 F.3d 1399, 1414 (10th Cir.

1998), where a defendant did not participate in racial taunting and only joined in chasing and

shooting at men at the end of the offense. The court in Woodlee did not believe that simply

because the other defendants made the initial decision whom to taunt that the defendant is

relieved of his choice to join in the melee. Id. Unlike the defendant in Woodlee, there is nothing

to indicate that Mr. Denton otherwise participated or joined in the swatting call. In fact, Mr.

Denton did not suggest, discuss, or participate in the swatting calls to the two predominately

African American Churches nor the Islamic Center that the government references in its position,

and he did not make any statements to law enforcement to the contrary. The government

speculates that Mr. Denton discussed swatting targets based on racial animus on the Siege

Culture channel, however this is incorrect as described above and the government acknowledges

that it was unable to obtain any chat logs from the Siege Culture channel.

       The language in the Statement of Facts was chosen carefully and agreed to by the parties.

Nowhere in the Statement of Facts does Mr. Denton agree or stipulate that he selected a swatting




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target based on racial animus. Although not binding on this Court or the Probation Officer, it is

also noteworthy that the government did not require Mr. Denton to stipulate to this enhancement.

       Mr. Denton’s conduct also stands in contrast to Kelley’s where this Court denied the

same objection. There the government argued that Kelley was critical to the conspiracy, Mr.

Denton certainly was not. Mr. Kelley was the host and manager of Graveyard channel, he

participated on the channel regularly, actively discussed potential swatting targets, and worked to

obtain video feeds. Mr. Denton did not.

       B.      Official Victim

       The Probation Officer noted in paragraph 61 of the PSR that Mr. Denton qualifies for a

victim related adjustment for an official victim pursuant to U.S.S.G. §3A1.2. This enhancement

does not have the higher standard required for the hate crime enhancement. Clearly, Mr. Denton

was a member of this conspiracy and the conspiracy selected a USSS protectee because of their

position. However, as discussed above, Mr. Denton was responsible for selecting two targets of

over 134 swatting calls. He participated by listening to less than ten of the swatting calls and

generally did not participate in the chats on the Graveyard channel. While he was familiar with

DoxBin, Co-Conspirator 2 was the manager of the site. Mr. Denton did not suggest, discuss, or

participate in the swatting call of the USSS protectee whatsoever. Mr. Denton’s involvement in

the conspiracy is simply too attenuated to qualify for this enhancement. In the alternative, under

the §3553(a) this 6 level enhancement overstates Mr. Denton’s culpability and warrants a

sentencing variance.

II.    Considerations Under §3553(a)

       It is well settled that the Sentencing Guidelines are advisory following the Supreme

Court’s decision in United States v. Booker, 125 S.Ct. 738, 757 (2005). While Federal Courts



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must still consider the defendant’s sentencing exposure under the guidelines, the court is now

free to “tailor the sentence in light of other statutory concerns”. Booker, at 764-65; see also

United States v. Hughes, 401 F.3d 540, 546 (4th Cir. 2005) (the court shall consider the

sentencing guidelines range as well as other relevant factors set forth in 18 U.S.C. §3553(a)

before imposing sentence). As a result, this Court may consider permissible statutory factors

such as: the nature and circumstances of the offense; the history and characteristics of the

defendant; the need for the sentence to reflect the seriousness of the offense, to promote respect

for the law, provide just punishment for the offense, to afford adequate deterrence to criminal

conduct, to protect the public from future crimes of the defendant, and to provide the defendant

with reasonable rehabilitative opportunities; the kinds of sentences available; the guideline

range; the need to avoid unwanted sentencing disparities; and the need for restitution. Upon

consideration of these factors, a sentencing court may find that a case falls outside the

“heartland” contemplated by the guidelines, that “the guidelines sentence itself fails properly to

reflect the §3553(a) considerations”, or that “the case warrants a different sentence regardless.”

Rita v. United States, 551 U.S. 338, 345-46 (2007). Under recent decisions of the United States

Supreme Court, see e.g., Gall v. United States, 552 U.S. 38 (2007); Kimbrough v. United States,

552 U.S. 85 (2007); and the United States Court of Appeals for the Fourth Circuit, see e.g.,

United States v. Pauley, 511 F.3d 468 (4th Cir. 2007); other considerations exist that demand a

lower sentence than that suggested by the Sentencing Guidelines. Therefore, if this Court

considers Mr. Denton’s offense in the context of these factors, it is appropriate to impose a

sentence of 18 months followed by a three-year term of supervised release to include ongoing

psychotherapy and extremism intervention assistance and, if the Court deems appropriate, a term

of home confinement with a parent or grandparent.



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A.     Nature and Circumstances of the Offense

       Mr. Denton’s involvement in the conspiracy lasted for approximately four months.

Kelley invited Mr. Denton to join the Graveyard channel after the swatting was underway.

However, Mr. Denton quickly turned his attention to developing his own Siege Culture channel

and moderating the chatroom. As a result, Mr. Denton seldom, if ever, participated in the

Graveyard channel. Nevertheless, Mr. Denton remained involved in the conspiracy. He listened

to or watched approximately less than ten swatting calls on Mumble. Mr. Denton’s participation

was also limited because he was employed full time.

       Mr. Denton also selected two swatting targets because he was angry with a journalist at

ProPublica for publishing his identity, mischaracterizing his role in Atomwaffen Division in an

article, and approaching him at a music festival. After learning this, Co-Conspirator 3

introduced Mr. Denton to Co-Conspirator 2 online. This is significant because Co-Conspirator 2

was one of the most prolific swatters and managed the DoxBin site. On December 14, 2018, Mr.

Denton listened as the New York office of ProPublica was swatted. Approximately seven weeks

later, on February 8, 2019, Mr. Denton listened as the home of the ProPublica journalist was

swatted. To the best of his recollection, this is the last swatting call that Mr. Denton listened to.

       Following his arrest, Mr. Denton timely accepted responsibility for his actions and pled

guilty pre-indictment. Mr. Denton also began cooperating with the government. Mr. Denton

regrets his actions and is remorseful for how they impacted the employee at the ProPublica

office, and the family of the journalist. However, he is especially saddened by the impact his

actions had on the journalist’s child. Having experienced a similar police response at the time of

his arrest, Mr. Denton has empathy for how traumatic the experience must have been for the

victims.



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B.      History and Characteristics of the Defendant

       Mr. Denton is 27 years old and while the PSR indicates that his upbringing was normal,

in fact he faced numerous struggles that continued into adulthood. At the age of three, Mr.

Denton was diagnosed with a severe speech delay and was unable to speak in sentences until he

was four years old. As a result, he required speech therapy until he was twelve years old. In first

grade, Mr. Denton was diagnosed with ADHD which further hindered his ability to learn in

school. Although Autism Spectrum Disorder (ASD) was also considered as a possible diagnosis,

the symptoms were characterized as present but “subthreshold” for a clinical diagnosis.

However, those symptoms further complicated his academic and emotional development.

Notwithstanding the assistance of special education services that remained in place until tenth

grade, Mr. Denton struggled academically in school. The exception was science. Mr. Denton

had a positive experience with his middle school science teacher who nurtured an interest that

resulted in Mr. Denton earning twelve college credits in science by the time he graduated from

high school. Even after graduation, Mr. Denton maintained contact with his science teacher,

who prepared a letter for the Court, and was invited to co-lead lessons with the teacher.

       Mr. Denton’s struggles were not limited to academics, he also struggled socially. In

elementary school Mr. Denton struggled to make friends because he could not communicate. At

a very early age he became a loner and normally played alone. As he got older, he was socially

and emotionally immature and had very few friends. Mr. Denton’s social development was

further hindered because he attended school in the same district where his mother taught rather

than where he lived. As a result, he did not grow up around his classmates and was unable to see

them after school. In high school, Mr. Denton maintained a small circle of friends who shared

interests in Dungeons and Dragons and “death metal music.”



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       Mr. Denton’s social and academic struggles were further complicated by his parents’

divorce when he was twelve. His father moved out of the family home which created a feeling

of abandonment in Mr. Denton which he continues to struggle with as an adult. His mother

remarried but her new husband was not accepting of Mr. Denton and was verbally and physically

abusive to his mother. On numerous occasions, Mr. Denton would stay with his grandparents

following abuse or arguments between his mother and her new husband.

       After graduation, Mr. Denton attended a local college but withdrew after obtaining

employment at McNutt Funeral Home in 2015. However, he continued to educate himself about

computers and managing internet networks. The McNutt family speak very highly of Mr.

Denton and they prepared a letter for the Court. Mr. Denton was a reliable and trusted employee

and is able to return to work there upon his release. Mr. Denton applied to attend mortuary

technician courses but, according to his mother, he became too anxious about something new and

did not pursue it.

       All of these factors, delayed speech, ADHD, subthreshold ASD, social isolation, and

family instability put Mr. Denton at risk to develop an extreme ideology. He was initially

exposed through his peer group in high school which progressed to his participation in

Attomwaffen Division (“AWD”) by the end of 2016 where he found an outlet for his interest in

computers and internet networks. He considered the members of this organization to be his

friends and communicated with them predominantly online.

       At the time of Mr. Denton’s arrest, he had become disillusioned with the AWD ideology

and began to distance himself from the group which was challenging because one of its members

was his roommate and he still considered many to be his friends. However, following his arrest

for the instant offense, Mr. Denton committed to working to leave his extreme ideology behind



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and address the other factors that put him at risk and contributed to his offense conduct. He

understands that this will be a process and he will require support from professionals, his family,

and the community. To begin this process, during his time in the Alexandria Detention Center,

Mr. Denton has undergone a psychological evaluation with Dr. Anita Boss (affidavit and cv

attached), participated in weekly psychotherapy with Dr. Robert Morin (letter attached),

completed the Bridges to Life self-study program (certificate and program information attached),

and completed an intake interview for the Parents for Peace program (assessment attached).

          Dr. Boss conducted a psychological evaluation of Mr. Denton and characterized his risk

for future violence as low. (Boss ¶14) Dr. Boss went on to identify certain risk factors which

may undermine that assessment. Mr. Denton engaged the services of Dr. Morin, Bridges to Life,

and Parents for Peace to address those risk factors along with the support and participation of his

family.

          1.     Dr. Anita Boss Psychological Evaluation

          Dr. Boss prepared an affidavit following her psychological evaluation of Mr. Denton. As

part of her evaluation, she reviewed his childhood medical records, spoke to family members,

reviewed the pleadings of this case, and listened to a recorded conversation Mr. Denton had with

an agent. In her affidavit, Dr. Boss noted that Mr. Denton’s social immaturity has endured,

citing “a history of gaining enjoyment from provocative, rebellious behavior, which he

characterizes as humor, and associating with individuals who share this interest.” (Boss ¶8) “His

social judgment is similarly immature. His family characterized him as a follower of his peers. In

the lengthy undercover investigator’s recording, Mr. Denton is not in the leadership role, but that

of an active participant.” (Boss ¶8)




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       Dr. Boss observed that “[t]he instant offense is consistent with this behavioral history,

including the lack of maturity and failure to anticipate the consequences.” Dr. Boss noted that

ADHD and subclinical symptoms of autism spectrum are likely contributors to his social

immaturity and difficulty with anticipating consequences, which in turn influenced his behavior

at the time of the offense. (Boss ¶14) While discussing the offense conduct with Dr. Boss, Mr.

Denton stated that he had not considered the real ramifications of “swatting,” nor had he

considered it a form of violence, until he experienced his own arrest. (Boss ¶10) Dr. Boss

observed that “[h]is comments suggested an improved understanding of the gravity of his past

actions.” (Boss ¶10)

       After discussing Mr. Denton’s involvement with AWD, Dr. Boss noted “[t]he clinical

assessment indicates that his group membership provided the context for a socially awkward

individual to find respect and comradery amongst people who shared his provocative

inclinations.” (Boss ¶9)

       Dr. Boss characterized Mr. Denton’s risk for future violence as low. (Boss ¶14) The

historical risk factors that are present include immature (but non-violent) interpersonal

relationships and attitudes associated with the promotion of violence which would increase if he

is incarcerated with individuals who have similar extreme views. (Boss ¶14) The clinical risk

factors include lacking insight and need for affiliation. Mr. Denton has difficulty recognizing

even common shortcomings. (Boss ¶14) His need for affiliation suggests he is likely to have

difficulty ending contact with friends who are still involved in AWD. (Boss ¶14)

       In closing Dr. Boss indicated that the release plan included in the PSR would provide

appropriately intensive community supervision. The added intervention of intensive

psychotherapy would likely place Mr. Denton at low risk for similar acts in the future. (Boss



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¶17) However, she cautioned that Mr. Denton is vulnerable to developing more negative or

extreme beliefs if incarcerated with individuals espousing ideology common to those of AWD

and similar groups. (Boss ¶17) Dr. Boss also suggested that the family obtain guidance regarding

the development, recognition, and prevention of extreme beliefs, in order to assist in monitoring

his affiliations. (Boss ¶18)

       2.      Dr. Robert Morin Psychotherapy

       Dr. Boss referred Mr. Denton to Dr. Robert Morin for Psychotherapy following her

evaluation to address the risk factors she identified. In making the referral, Dr. Boss observed

that “Mr. Denton appears to be at a point of reconsideration of many issues and life choices, and

he has expressed his motivation to address them in psychotherapy.” (Boss ¶11) Dr. Morin began

meeting with Mr. Denton virtually on November 23, 2020. During his sessions, Mr. Denton is

open about his thoughts and feelings and they have examined the motivations for this offense

and its consequences. Dr. Morin observed in his letter that Mr. Denton has benefitted from his

psychotherapy and would continue to benefit in the future. Dr. Morin has developed a

preliminary treatment plan for Mr. Denton upon his release and Mr. Denton has expressed a

desire to continue in psychotherapy.

       3.      Parents for Peace

       Mr. Denton participated in a series of intake interviews with a group called Parents for

Peace which is a non-profit organization that specializes in extremism intervention assistance. In

other words, assisting individuals and families affected by radicalization or violent extremism.

       The Parents for Peace Team draws from a broad range of experience that includes a

psychotherapist, a vetted former extremist, and a former counter terrorism operative. They

employ a Trauma and Rehabilitation Program (“TRP”) that takes a moral cognizance approach



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to identifying, isolating, and treating emotional and mental imbalances as well as other traumas

and injuries individuals endure that leave them vulnerable to radicalization and extremist

ideologies. The TRP also de-stigmatizes participation and repudiates victimhood reinforced

extremism. In other words, the stigma of participation in extremism and the victimhood

extremists perceive has the affect of perpetuating the extremism. The TRP works to undo this

thinking.

       The Parents for Peace assessment, in addition to intake interviews, included reviewing

court documents, medical records, and his biographical history to understand the historical,

environmental, and ideological factors that contributed to his recruitment into the Atomwaffen

Division. Their conclusion is that Mr. Denton is an appropriate candidate for their TRP program.

Mr. Denton’s individualized plan includes bi-weekly post-release intervention sessions for six

months, followed by weekly intervention sessions for six months. These sessions are designed to

assist with re-integrations and establishing positive peer groups and will be conducted virtually

and in person. Parents for Peace will coordinate with and complement Dr. Morin’s

psychotherapy sessions with Mr. Denton. Parents for Peace will also provide wrap around

services to include the family and provide radicalization-awareness education to the family.

       4.      Bridges to Life

       Dr. Boss discussed Mr. Denton’s lack of maturity and difficulty anticipating the

consequences of his actions. While she observed improved insight into how his actions affected

the victims of this case, Mr. Denton completed the Bridges to Life self-study program during his

incarceration to better understand how his actions affected the swatting victims that he

suggested. Mr. Denton was the first inmate to complete the program which launched in the

Alexandria Detention Center earlier this year.



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         Bridges to Life (“BTL”) is a Texas-based non-profit founded in 1998 that provides a

high-impact restorative justice program to incarcerated offenders. The BTL program has been

conducted in 184 facilities, the curriculum has been used in 14 states and 6 foreign countries, and

over 55,000 offenders have graduated from the program. Along with exploring concepts from

confession to restitution in their fourteen-week program, offenders also hear from victims and

face the true impact of crime on others. Notably, recidivism studies conducted by BTL with the

assistance of the Texas Department of Criminal Justice reveal that over 83 percent of BTL

graduates do not return to prison within three years, a 2020 study conducted by the National

Police Foundation revealed that participation in the BTL program reduced recidivism by 30

percent.

         5.     Family and Community Support

         For Mr. Denton to be successful with changing his beliefs and ideology he will need the

support of his family and the community who have prepared numerous letters for the Court to

review. His family is committed to supporting his psychotherapy with Dr. Morin and

participation in Parents for Peace. They are also committed to participating in radicalization-

awareness education and wrap around services to support Mr. Denton. The McNutt family also

committed to re-hiring Mr. Denton upon his release. This is critical because his employer and

co-workers will likely be his first social interaction with the public and will establish a

foundation for re-integration and establishing positive peer groups with the assistance Parents for

Peace.

C.       Equity, Fairness, and Deterrence

         A sentence of 18 months followed by a three-year term of supervised release to include

ongoing psychotherapy and extremism intervention assistance and, if the Court deems



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appropriate, a term of home confinement with a parent or grandparent would sufficiently reflect

the seriousness of the offense, promote respect for the law, provide just punishment, afford

adequate deterrence, and protect the public from future crimes. Mr. Denton has no prior criminal

history and has never been incarcerated prior to the instant offense. Mr. Denton has been

incarcerated for fourteen months and, as the Court is aware, conditions in the Alexandria

Detention Center have been especially difficult during the pandemic. Mr. Denton, along with the

other inmates, were subjected to extended periods of lock-down and other movement restrictions

and programs were cancelled. Nevertheless, Mr. Denton did not have any infractions during his

incarceration. This sentence would certainly send a strong message to the community that

swatting will be punished harshly and it sends a clear message to Mr. Denton that any future

crimes will not be tolerated.

       Mr. Denton’s family and community provide a strong support system which, along with

ongoing psychotherapy with Dr. Morin and participation in the Parents for Peace program,

protects the public from future crimes. Also, Dr. Boss observed that during his incarceration Mr.

Denton developed a better understanding for the consequences of his actions and his risk for

future violence is low. Mr. Denton also completed the Bridges to Life program which

dramatically decreases the likelihood for recidivism. This sentence would balance the dual

purposes of incarceration to both punish and rehabilitate Mr. Denton while also minimizing the

likelihood of recidivism.

D.     The Guideline Range / The Need to Avoid Sentencing Disparities

       A sentence of 18 months followed by a three-year term of supervised release to include

ongoing psychotherapy and extremism intervention assistance and, if the Court deems

appropriate, a term of home confinement with a parent or grandparent adequately reflects the



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guideline range and avoids unwarranted sentencing disparities. First, Mr. Denton’s sentencing

guidelines increased by 9 points because of the hate crime and official victim enhancements.

This resulted in his total offense level increasing from 15 to 24 which resulted in the low end of

his guidelines increasing from 18 to 51months. This dramatically overstates Mr. Denton’s

offense conduct especially in comparison to the offense conduct of his fellow co-conspirators.

       This sentence also avoids unwarranted sentencing disparities. Co-Conspirators 1 and 2

were responsible for making the vast majority of the swatting calls and Co-Conspirator 2

maintained the DoxBin. Those individuals are the most culpable co-conspirators and yet will not

face sentencing by this Court. Co-Conspirator 3, who will also not face sentencing in this Court,

was actively involved on the Graveyard channel chats and in selecting swatting targets

specifically the predominantly African American Church. Co-Conspirator 3 also introduced Mr.

Denton to Co-Conspirator 2 after he learned that Mr. Denton was angry with the journalist.

Finally, Kelley who received a variant sentence of 33 months from this Court, was the host and

manager of Graveyard channel, he participated on the channel regularly, actively discussed

potential swatting targets, and worked to obtain video feeds. Kelley invited Mr. Denton to join

the Graveyard channel after the swatting was underway. The government described Kelley as

critical to the conspiracy. All of these individuals participated in the conspiracy for a longer

period of time than Mr. Denton.

III.   Conclusion

       For the foregoing reasons, Mr. Denton respectfully requests that this Court find that the

appropriate Total Offense Level is 15 with a corresponding guideline range of 18 to 24 months.

In the alternative, Mr. Denton requests that this Court impose a variant sentence based on the

factors described in 18 U.S.C. §3553(a) and impose a sentence of 18 months followed by a three-



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year term of supervised release to include ongoing psychotherapy and extremism intervention

assistance and, if the Court deems appropriate, a term of home confinement with a parent or

grandparent.

        Mr. Denton further requests that this Court recommended his participation in the RDAP

program to address his prior alcohol abuse. Although Mr. Denton indicated that he does not

need substance abuse counseling, his reported history of escalating alcohol use and lack of

insight suggests it would be appropriate.

        Finally, Mr. Denton further requests that the Court recommend that he serve his sentence

at at a facility near the northern Virginia area.




                                                            Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of April, 2021, I electronically filed the foregoing
motion with the clerk of the court using the CM/ECF system, which will send an electronic copy
to the following:

Carina Cuellar
Assistant United States Attorneys
U.S. Attorney’s Office, Eastern District of Virginia
2100 Jamieson Avenue
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